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District                Boards of Election     Comments
                                               Calls were made to each Board of Election on November
                                               5th, and 3 Boards of Election requested that ballots be
                                               placed in their PO Box for pick up by the BOE; one asked to
                                               be called if there were any ballots and arrangements would
                                               be made for pick up or delivery at that time, and for all
                                               remaining BOEs Post Office to deliver ballots by no later
Mid-Carolinas           45 (in North Carolina) than 5:00 p.m. by hand delivery.
                                               Calls were made to each Board of Election on November
                                               5th to obtain busines hours and contact person. The Post
                                               Office to deliver any ballots by hand delivery by no later
Central Pennsylvania              34           than 5:00 p.m.
                                               Contact was made with each Board of Election on
                                               November 5th for which ballots were located. Post Office
                                               to deliver any ballots by hand by no later than 5:00 p.m.,
                                               except for the City of Pittsburgh which requested to be
Western Pennsylvania              32           called and will have a courier.
                                               Contact was made with each Board of Election on
                                               November 5th, two BOEs requested a call for courier pick
                                               up, and the remaining three requested the Post Office
Philedelphia Metro                 5           deliver ballots for hand off by no later than 5:00 p.m.
                                               Contact was made with each Board of Election on
                                               Novenber 5th and arrangemens were made to have the
                                               Post Office to deliver ballots by no later than 5:00 p.m. by
Greensboro                        55           hand for each office.
